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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


STEPHANIE CLIFFORD a.k.a.               :   CIVIL ACTION NO.
STORMY DANIELS, an individual,          :
c/o Avenatti Associates, APC
1910 W Sunset Blvd, #450
Los Angeles, CA 90026,                  :   JUDGE:
                                        :
                 Plaintiff,             :   MAGISTRATE JUDGE:
                                        :
    v.                                  :
                                        :
SHANA M. KECKLEY, in her                :
individual capacity as a                :
Columbus Police Vice Unit Detective,    :
City of Columbus, Division of Police    :   COMPLAINT
120 Marconi Blvd.                       :
Columbus, OH 43215,                     :   DEMAND FOR JURY TRIAL
                                        :
          and                           :
                                        :
WHITNEY R. LANCASTER, in his            :
individual capacity as a                :
Columbus Police Vice Unit Lieutenant,   :
City of Columbus, Division of Police    :
120 Marconi Blvd.                       :
Columbus, OH 43215,                     :
                                        :
          and                           :
                                        :
MARY S. PRAITHER, in her                :
individual capacity as a                :
Columbus Police Vice Unit Detective,    :
City of Columbus, Division of Police    :
120 Marconi Blvd.                       :
Columbus, OH 43215,                     :
                                        :
          and                           :
                                        :
STEVEN G. ROSSER, in his                :
individual capacity as a                :
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Columbus Police Vice Unit Detective,               :
City of Columbus, Division of Police               :
120 Marconi Blvd.                                  :
Columbus, OH 43215,                                :
                                                   :
            and                                    :
                                                   :
JOHN OR MARY DOE 1, in his or her                  :
individual capacity,                               :
City of Columbus, Division of Police               :
120 Marconi Blvd.                                  :
Columbus, OH 43215,                                :
                                                   :
            and                                    :
                                                   :
JOHN OR MARY DOE 2, in his or her                  :
individual capacity,                               :
City of Columbus, Division of Police               :
120 Marconi Blvd.                                  :
Columbus, OH 43215,                                :
                                                   :
                         Defendants.               :



I.     INTRODUCTION

       1.         The claims at issue in this case arise from a politically motivated July 11, 2018

incident in which Officers of the Columbus Division of Police (“CDP”) Vice Unit (“Vice Unit”),

acting under color of state law, intentionally and willfully subjected Plaintiff Stephanie Clifford

(“Ms. Clifford”) to, inter alia, false arrest and false imprisonment in violation of her civil rights.

       2.         Approximately two months before the events at issue in this case, Ms. Clifford,

a.k.a. Stormy Daniels (“Ms. Clifford”), became an opponent of President Donald Trump in

litigation. Namely, in March 2018, Ms. Clifford filed a lawsuit seeking to be released from a

non-disclosure agreement she had signed in connection with a $130,000 payment she received

from the President and/or his representatives. On March 25, 2018, Ms. Clifford was interviewed

on “60 Minutes” and told a national television audience about her extramarital affair with the

President which led to the non-disclosure agreement and payment of “hush money.” In response,




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the President and his surrogates attacked her, sought to disparage Ms. Clifford and to impugn her

character and credibility.

       3.      In this civil rights action, Ms. Clifford seeks relief for the violation of her rights

secured by the Civil Rights Act of 1871, 42 USC §1983, the Fourth and Fourteenth Amendments

to the United States Constitution, and the common law of the State of Ohio.

       4.      Plaintiff Ms. Clifford seeks monetary damages (special, compensatory, and

punitive) against defendants, as well as declaratory, injunctive, and equitable relief, an award of

costs and attorneys’ fees, and such other and further relief as the Court deems just and proper.



II.    JURISDICTION AND VENUE

       5.      Jurisdiction over claims brought under the Civil Rights Act of 1871, 42 U.S.C. §

1983 (deprivation of rights under color of law), is conferred on this Court by 28 U.S.C. §§ 1331

(federal question); 1343 (civil rights), and jurisdiction over the state claims is conferred by 28

U.S.C. § 1367 (supplemental jurisdiction).

       6.      Venue is proper pursuant to 28 U.S.C. § 1391(b) and S.D. Ohio Civ. R. 82.1(b),

because the events that give rise to this action occurred in Franklin County, Ohio. Defendants

reside and/or are employed as CDP Vice Unit members or in other CDP employment there.

       7.      Venue is proper pursuant to 28 U.S.C. § 1391(b) and S.D. Ohio Civ. R. 82.1(b),

because the events that give rise to this action occurred in Franklin County, Ohio. Defendants

reside and/or are employed as CDP Vice Unit members or in other CDP employment there.

       8.      Costs and attorneys’ fees may be awarded pursuant to 42 U.S.C. § 1988, the

common law of the State of Ohio, and Fed. R. Civ. P. 54.



III.   PARTIES

       9.      Plaintiff Ms. Clifford (“Ms. Clifford”) is a resident of Texas.

       10.     Defendants    Shana    Keckley    (“Defendant     Keckley”),      Whitney   Lancaster

(“Defendant Lancaster”), Mary Praither (“Defendant Praither”), Steven Rosser (“Defendant



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Rosser”), and John or Mary Doe 1 (“Defendant Doe 1) (Defendants Keckley, Lancaster, Praither,

Rosser and Doe 1 shall collectively be referred to herein as “Defendant Officers”) are being sued

in their individual capacity; and were, at all times material to this Complaint, employees of the

CDP Vice Unit (“Vice Unit”) located in Franklin County, Ohio, and “persons” under 42 U.S.C

§1983 acting under color of law.

        11.    Defendant John or Mary Doe 2 (“Defendant Doe 2”) is a police officer,

spokesperson, and/or social media account administrator for the CDP whose identity is not

currently known to Plaintiff. Accordingly, Plaintiff is suing Defendant Doe 2 in his or her

individual capacity. At all times material to this Complaint, Defendant Doe 2 was an employee

of the CDP, located in Franklin County, Ohio, and a “person” under 42 U.S.C § 1983 acting

under color of law.



III.    FACTUAL ALLEGATIONS

        12.    At approximately 10:00 p.m. on July 11, 2018, Plaintiff Ms. Clifford was

scheduled to appear at an adult entertainment venue known as “Sirens” in Columbus, Ohio

        13.    As noted above, Ms. Clifford is a public figure engaged in a high profile public

dispute with the President of the United States of America, Donald John Trump (“President

Trump”), with whom she alleges that she had a sexual affair.

        14.    Ms. Clifford has frequently and publicly spoken out against President Trump,

making statements that she had a sexual affair with him in 2006 and that President Trump’s

lawyer, Michael Cohen, paid her one-hundred and thirty-thousand dollars ($130,000) to not say

anything about the affair during President Trump’s 2016 presidential campaign. Specifically, in

March 2018, Ms. Clifford sued to be released from a non-disclosure agreement relating to the

affair and, on March 25, 2018, she discussed the matter on “60 Minutes” to a record television

audience. Mr. Trump and his supporters have since sought to disparage her character and

credibility.




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       15.     Defendant Officers belonged to a group of officers from the Vice Unit who were

avowed supporters of President Trump. To wit:

       16.     Defendant Keckley is registered as a Republican in the Ohio voter rolls.

       17.     Defendant Praither is also registered as a Republican in the Ohio voter rolls.

       18.     Defendant Rosser is a known Republican supporter of President Trump.

       19.     Before July 11, 2018, Defendant Rosser maintained a Facebook profile under the

alias of “Stevo Shaboykins.” Defendant Rosser regularly posted supporting images for President

Trump on the Stevo Shaboykins Facebook page. One image was labeled “Cops for Trump Pence

Make America Great Again,” and included the text: “Keep your Elephant Keep your Donkey We

Have a Lion (Trump),” and “So Trump is mentally ill…he built a multi-billion dollar empire that

spread across the world, was able to beat 17 of the best and brightest Republican candidates,

turns around to beat the ‘most qualified woman of our time’ for the presidency, then in his first

year in office causes the stock market to climb to heights never seen before in history, lowered

unemployment, almost wiped out ISIS, restoring law and order, all while working with a hostile

Congress and the media attacking him 24/7? Perhaps we need more mentally ill people.”

       20.     At some point in time, before July 11, 2018, Defendant Officers became aware

that Ms. Clifford was scheduled to visit Sirens.

       21.     Defendant Officers believed that Ms. Clifford was damaging President Trump and

they thereafter entered into a conspiracy to arrest her during her performance in Columbus in

retaliation for the public statements she had made regarding President Trump.

       22.     Defendant Officers also arrested Ms. Clifford because they believed that doing so

would damage her credibility in relation to any statements she had make or might in the future

make against President Trump. Damaging Ms. Clifford’s credibility in this way was another

purpose of Defendant Officers’ conspiracy.

       23.     Defendant Officers subsequently decided to arrest Ms. Clifford and to falsely

charge her with violating R.C. 2907.40 when she performed at Sirens.




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       24.     Defendant Keckley performed extensive research on Ms. Clifford and her

performance schedule prior to her appearance at Sirens.

       25.     E-mails sent from Defendant Keckley’s personal account to her work account

contained screenshots of an article announcing the event, a picture of Ms. Clifford and President

Trump together, a link to a YouTube video of Ms. Clifford receiving the keys to West

Hollywood, and a screenshot of the location of Sirens on a map.

       26.     Defendant Officers determined in advance that if Ms. Clifford did not meet all of

the elements of R.C. 2907.40, they would either fabricate the missing elements or deliberately

omit elements on any criminal complaint against her.

       27.     Further, Defendant Officers determined in advance that, at the same time they

arrested Ms. Clifford, they would also arrest at least two other individuals working at Sirens for a

violation of R.C. 2907.40 to cover for their arresting Ms. Clifford. Defendant Officers calculated

that, if they arrested other employees, they would be able to deny that Ms. Clifford’s arrest was

politically-motivated and unjustified by circumstances on the ground.

       28.     On the night Ms. Clifford was scheduled to appear at Sirens on July 11, 2018,

Defendant Officers attended the event undercover, each paying a seventy-five dollar ($75) cover

charge to acquire V.I.P. access to Ms. Clifford during her performance.

       29.     Several of the Defendant Officers sat in a booth together, while other Defendant

Officers were posted at other locations at the establishment.

       30.     Several of the Defendant Officers consumed alcoholic beverages while on the job,

spending at least seven hundred and sixty eight dollars ($768) of taxpayer money on their exploit,

including one-hundred and twenty-nine dollars ($129) for alcohol and six-hundred and thirty-

nine dollars ($639) for tips and cover charges.

       31.     Prior to 10:00 p.m., Defendant Officers invoked their V.I.P. privileges and entered

the V.I.P. area to personally meet Ms. Clifford.




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          32.   During the V.I.P. interaction, Defendant Praither alleged Ms. Clifford “put both

hands on officers [sic] buttocks, both hands on officers [sic] breast, then put her breast in officers

[sic] face.”

          33.   Defendant Praither, based upon these allegations, arrested Ms. Clifford, falsely

alleging a violation of R.C. 2907.40.

          34.   Pursuant to their conspiracy, Defendant Officers proceeded to arrest Ms. Panda

and Ms. Walters for alleged violations of R.C. 2907.40 at or about the same time.

          35.   Defendant Officers arrested, handcuffed, detained, and transported Ms. Clifford in

a police cruiser to a police staging location where she remained handcuffed. She was then

transported to the Franklin County Correctional Center where she was placed in a holding cell,

booked, fingerprinted, and photographed.

          36.   Defendants charged Ms. Clifford, Ms. Panda, and Ms. Walters with first-degree

misdemeanor violations of R.C. 2907.40(C)(2), as alleged in each individual complaint against

them.

          37.   The Columbus Police Department Vice Unit enforces a very limited set of laws.

          38.   Vice Unit officers, including Defendant Officers, are intimately aware of all of the

elements for the limited set of laws they are charged with enforcing.

          39.   In filing criminal complaints, Defendant Officers have access to and routinely use

a book containing the elements of City and State criminal offenses, including the elements

associated with R.C. 2907.40(C)(2).

          40.   A violation of R.C. 2907.40(C)(2) requires: (1) an employee who regularly

appears nude or seminude; (2) at the sexually oriented business; (3) while they are nude or

seminude; (4) to touch another employee, a patron, or allow themselves to be touched by a

patron.

          41.   Accordingly, R.C. 2907.40(C)(2) requires that the person charged appear nude or

semi-nude at the establishment in question on a regular basis. But Ms. Clifford was a special

guest performer at Sirens, who had not appeared regularly at the establishment, while Ms. Panda



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had just started the night before. Additionally, neither Ms. Panda or Ms. Walters had been nude

or semi-nude, in order to violate the statute.

        42.     Immediately following the arrests of Ms. Clifford, Ms. Panda, and Ms. Walters, at

3:47 a.m., Defendant Keckley sent an e-mail to Defendant Rosser, Defendant Praither, Detective

Scott Soha, and Lieutenant Robert Kemmerling, stating, “Attached are the complaints from our

arrests at Sirens” with attachments of the individual complaints against each woman.

        43.     At 3:50 a.m. on July 12, 2018, Defendant Keckley forwarded the abovementioned

e-mail with the attached complaints to Lieutenant Babcock, stating, “LT You’re Welcome!!!!!I

work Vice now !!:D It was Me, Rosser, Lancaster, and Praiter [sic]; Please Please Don’t post my

name on Face Book [sic] !!:D Thank me in person later.”

        44.     Defendant Keckley asked that her name not be published on Facebook in

connection with these arrests out of concern that her political motivation for the arrests would be

discovered.

        45.     At 4:03 a.m., Defendant Keckley forwarded the above-mentioned e-mail with the

attached complaints to co-workers Elisabeth Beine, Lowell Whitt, Eric Poliseno, Jason Arnold,

and Jason Vore, stating, “I got elements along with Susan and Lancaster we arrested Stormy this

morning, she is in jail.”

        46.     At 4:05 a.m., Defendant Keckley forwarded the same e-mail with the attached

complaints to her husband, Shane Keckley, stating, “It is all over CNN. I wanted you to know

before everyone contacts you … I, Susan and Lancaster got elements and arrested Stormy

Daniels this morning she is in jail.”

        47.     Later that evening, co-worker Jason Arnold replied all to Defendant Keckley,

stating, “Great job!!!!Let me know how that goes for ya…”.

        48.     Defendant Keckley’s e-mails, including the ones from the prior night showing

research on Ms. Clifford, her upcoming performance at Sirens, and her affiliation with President

Trump, as well as the ones post-arrest stating that she “got elements” to arrest Ms. Clifford

evidence a premeditated, politically motivated reason to arrest Ms. Clifford.



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        49.     Shortly after the arrests, Defendant Rosser deleted his “Stevo Shaboykins”

Facebook profile out of concern that his political motivation for arresting Ms. Clifford would be

discovered.

        50.     At 1:36 p.m. on July 12, 2018, Columbus Division of Police released a statement

from Chief Kim Jacobs (“Chief Jacobs”) which said, “Vice personnel working last night believed

they had probable cause that the state law regulating sexually-oriented businesses was violated;

however, one element of the law was missed in error and charges were subsequently dismissed.”

        51.     Contrary to that post, which was intended to divert attention or inquiry, Defendant

Officers never had probable cause to arrest Ms. Clifford, nor could they believe they did. This is

because Defendant Officers were well aware that they had deliberately fabricated and/or omitted

the elements of R.C. 2907.40(C)(2) to arrest Ms. Clifford and the other women.

        52.     Ms. Panda’s and Ms. Walters’ charges were dismissed at the unilateral request of

the prosecutor due to lack of probable cause on July 18, 2018, six days after charges were filed

against them.

        53.     On July 12, 2018 at 7:29 a.m., Defendant Doe 2 posted a statement on the official

Twitter account for the City of Columbus Division of Police, “Columbus Ohio Police

(@ColumbusPolice),” entitled “Columbus Police Make Three Arrests at Adult Entertainment

Club.” The July 12, 2018 statement read, “As part of a long-term investigation into allegations

of human trafficking, prostitution, along with other vice related violations, Columbus Police

arrested three individuals from Club Sirens at 6190 Cleveland Ave., during the early morning

hours of July 12, 2018.”

        54.     The above-mentioned statement is entirely false. Defendant Officers were not at

Sirens investigating any human trafficking, prostitution, or other vice related violations, nor were

the women employees of Sirens arrests in any way related to such an “investigation”. Defendant

Doe 2’s publication of this statement furthered the conspiracy of Defendant Officers to conceal

their retaliatory motive for the arrests.




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       55.     Plaintiff’s rights to be free from unlawful search and seizure and from arrest and

prosecution without probable cause and/or based on false statements were, at the time of their

actions or omissions, clearly established rights guaranteed by the Fourth and Fourteenth

Amendments to the United States Constitution.

       56.     Defendants’ acts or omissions were done with malicious purpose, in bad faith, or

in a wanton or reckless manner.

       57.     As a proximate result of Defendants’ acts, Plaintiff has suffered and continues to

suffer damages, including loss of liberty, legal and other expenses, physical pain and suffering,

mental and emotional anguish, embarrassment, fear, and great inconvenience.

       58.     But for Defendant Officers’ commitment to President Trump and retaliatory

motivation against Ms. Clifford, no arrest, prosecution, or defamation would ever have happened.



III.   CLAIMS FOR RELIEF

       A. First Cause of Action: False Arrest in Violation of the Fourth and Fourteenth

             Amendments and Ohio Common Law

       59.     Paragraphs 1 through 58 above are realleged and incorporated herein.

       60.     Defendants have deprived Ms. Clifford of her civil, constitutional and statutory

rights under color of law and have conspired to deprive her of such rights and are liable to

plaintiff under 42 USC § 1983.

       61.     Defendants’ conduct deprived Ms. Clifford of her right to be free of unreasonable

searches and seizures, pursuant to the Fourth and Fourteenth Amendments to the United States

Constitution. Defendants’ conduct also deprived Ms. Clifford of her right to due process of law,

pursuant to the Fourteenth Amendment of the United States Constitution.

       62.     By arresting Ms. Clifford when, at the moment of the arrest the facts and

circumstances within the knowledge of the Defendants Officers were insufficient to warrant a

reasonable person to believe Plaintiff had committed a crime, Defendant Officers committed a




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false arrest. Defendants falsely arrested plaintiff and failed to intervene in each other's obviously

illegal actions.

        63.        Ms. Clifford has been damaged as a result of defendant’ wrongful acts.



        B. Second Cause of Action: Malicious Prosecution in Violation of the Fourth and

              Fourteenth Amendments and Ohio Common Law

        64.        Paragraphs 1 through 58 above are realleged and incorporated herein.

        65.        By making, influencing, and/or participating in the decision to prosecute Ms.

Clifford without probable cause, which prosecution was resolved in her favor by dismissal at the

unilateral request of the prosecutor due to lack of probable cause, and doing so with knowingly

or recklessly made false statements in their paperwork, Defendant Officers maliciously

prosecuted Ms. Clifford, resulting in her deprivation of liberty for more than five hours after their

initial seizure.

        66.        Ms. Clifford has been damaged as a result of defendant’ wrongful acts.



        C. Third Cause of Action: Civil Conspiracy to Violate the Fourth and Fourteenth

              Amendments

        67.        Paragraphs 1 through 58 above are realleged and incorporated herein.

        68.        Defendants conspired against Ms. Clifford in order to conceal their retaliation

against her by depriving her of their Fourth and Fourteenth Amendment rights and taking steps to

further the conspiracy, such as arresting her without probable cause, unlawfully searching and

seizing her persons and property, making knowingly or recklessly false statements in her

paperwork, making, influencing, and/or participating in the decision to prosecute her without

probable cause, and making public false defamatory statements, thereby causing Plaintiff injury.

        69.        Ms. Clifford was injured as a result of defendant’ conspiracy.




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       D. Fourth Cause of Action: Abuse of Process in Violation of Ohio Common Law

       70.     Paragraphs 1 through 58 above are realleged and incorporated herein.

       71.     In the alternative, by commencing criminal prosecution in proper form and with

probable cause and perverting that prosecution to retaliate against Ms. Clifford and thereby cause

her injury in their efforts to conceal that retaliation, Defendant Officers committed abuse of

process.



       E. Fourth Cause of Action: Abuse of Process in Violation of Ohio Common Law

       72.     Paragraphs 1 through 58 above are realleged and incorporated herein.

       73.     By maliciously releasing false statements to public newspapers and broadcasters

and on social media platforms strongly implying Ms. Clifford was engaged in immoral conduct

or wrongdoing, and/or vice related violations; and by announcing the details of her arrests for

“illegal sexually oriented activity in a sexually oriented business,” Defendants defamed Ms.

Clifford causing injury to her reputation and exposing her to contempt, ridicule, shame, and

disgrace in the community.



                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that this Court:

               a. declare that Defendants have, through false arrest and/or malicious

                  prosecution, violated Plaintiff’s Fourth and Fourteenth Amendment rights,

                  conspired against Plaintiff to violate those rights, abused process, and/or

                  defamed her; and




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             b. order more than $1,000,000 in compensatory damages; more than $1,000,000

                 in punitive damages; prejudgment and post-judgment interest; costs;

                 attorneys’ fees, and such other relief as the Court may deem appropriate.


                                    Respectfully Submitted,

                                             /s/ Chase A. Mallory____
                                             Chase A. Mallory (0084728)
                                             Chase@SabolMallory.com
                                             SABOL MALLORY, LLC
                                             743 South Front Street
                                             Columbus, Ohio 43206
                                             phone: (614) 300-5088
                                             fax: (614) 636-4545


                                             /s/ Daniel J. Sabol
                                             Daniel J. Sabol (0081403)
                                             Dan@SabolMallory.com
                                             SABOL MALLORY, LLC
                                             743 South Front Street
                                             Columbus, Ohio 43206
                                             phone: (614) 300-5088
                                             fax: (614) 636-4545


                                             /s/ Michael J. Avenatti
                                             Michael J. Avenatti (applying pro hac)
                                             mavenatti@eoalaw.com
                                             AVENATTI & ASSOCIATES, APC
                                             1910 W Sunset Blvd, #450
                                             Los Angeles, CA 90026
                                             phone: (949) 706-7000



                                       JURY DEMAND

      Plaintiff hereby demands a trial of all causes by jury.


                                             By: /s/ Chase A. Mallory____
                                             Chase A. Mallory (0084728)




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JS 44 (Rev. 06/17)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                        DEFENDANTS
STEPHANIE CLIFFORD a.k.a. STORMY DANIELS                                                               SHANA M. KECKLEY, WHITNEY R. LANCASTER, MARY S.
                                                                                                       PRAITHER, STEVE G. ROSSER

   (b) County of Residence of First Listed Plaintiff              KAUFMAN COUNTY TX                      County of Residence of First Listed Defendant               FRANKLIN COUNTY OH
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
CHASE A. MALLORY (614) 300-5088
SABOL MALLORY, LLC
743 SOUTH FRONT STREET, COLUMBUS, OH 43206

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                        and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF       DEF                                           PTF      DEF
          Plaintiff                          (U.S. Government Not a Party)                      Citizen of This State            1             1   Incorporated or Principal Place          4      4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place          5          5
          Defendant                          (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                            6          6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                          Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
  120 Marine                         310 Airplane                     365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                   376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability        690 Other                                28 USC 157                       3729(a))
  140 Negotiable Instrument               Liability                   367 Health Care/                                                                                   400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                 Pharmaceutical                                                PROPERTY RIGHTS                  410 Antitrust
      & Enforcement of Judgment           Slander                         Personal Injury                                               820 Copyrights                   430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’               Product Liability                                             830 Patent                       450 Commerce
  152 Recovery of Defaulted               Liability                   368 Asbestos Personal                                             835 Patent - Abbreviated         460 Deportation
      Student Loans                  340 Marine                           Injury Product                                                    New Drug Application         470 Racketeer Influenced and
      (Excludes Veterans)            345 Marine Product                   Liability                                                     840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment             Liability                  PERSONAL PROPERTY                      LABOR                       SOCIAL SECURITY                  480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle                370 Other Fraud              710 Fair Labor Standards             861 HIA (1395ff)                 490 Cable/Sat TV
  160 Stockholders’ Suits            355 Motor Vehicle                371 Truth in Lending              Act                             862 Black Lung (923)             850 Securities/Commodities/
  190 Other Contract                     Product Liability            380 Other Personal           720 Labor/Management                 863 DIWC/DIWW (405(g))                Exchange
  195 Contract Product Liability     360 Other Personal                   Property Damage               Relations                       864 SSID Title XVI               890 Other Statutory Actions
  196 Franchise                          Injury                       385 Property Damage          740 Railway Labor Act                865 RSI (405(g))                 891 Agricultural Acts
                                     362 Personal Injury -                Product Liability        751 Family and Medical                                                893 Environmental Matters
                                         Medical Malpractice                                            Leave Act                                                        895 Freedom of Information
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           FEDERAL TAX SUITS                    Act
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement              870 Taxes (U.S. Plaintiff        896 Arbitration
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act                  or Defendant)                899 Administrative Procedure
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              871 IRS—Third Party                  Act/Review or Appeal of
  240 Torts to Land                  443 Housing/                        Sentence                                                           26 USC 7609                     Agency Decision
  245 Tort Product Liability             Accommodations              530 General                                                                                         950 Constitutionality of
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                                                           State Statutes
                                         Employment                  Other:                        462 Naturalization Application
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration
                                         Other                       550 Civil Rights                  Actions
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original              2 Removed from                    3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding              State Court                            Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                     (specify)                         Transfer                        Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity) :
                                       42 U.S.C. 1983
VI. CAUSE OF ACTION Brief description of cause:
                                       FALSE ARREST AND FALSE IMPRISONMENT IN VIOLATION OF CIVIL RIGHTS
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                 2,000,000.00                              JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
01/14/2019                            Chase A. Mallory (0084728)
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                          MAG. JUDGE
